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 8                           UNITED STATES DISTRICT COURT
 9                        WESTERN DISTRICT OF WASHINGTON
10
11        William Mix,                                         Case No.:
12
                          Plaintiff,
13        v.                                                   COMPLAINT FOR DAMAGES
                                                               PURSUANT TO THE
14
          Ocwen Mortgage Servicing, Inc.                       TELEPHONE CONSUMER
15        and Ocwen Loan Servicing, LLC,                       PROTECTION ACT, 47 U.S.C. §
                                                               227, ET SEQ. AND JURY
16
                          Defendants.                          DEMAND
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21
                                            INTRODUCTION
22
     1.        The Telephone Consumer Protection Act (“TCPA”), 47 U.S.C. §227 et seq.
23
               was designed to prevent calls like the ones described within this
24
               complaint, and to protect the privacy of citizens like Plaintiff. In enacting
25
               the TCPA, Congress intended to give consumers a choice as to how
26
               creditors and telemarketers may call them, and made specific findings that
27
               “[t]echnologies that might allow consumers to avoid receiving such calls
28    _________________________________________________________________________________________________
                                                                              Hyde & Swigart
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 1         are not universally available, are costly, are unlikely to be enforced, or
 2         place an inordinate burden on the consumer. TCPA, Pub.L. No. 102–243, §
 3         11.
 4   2.    Toward this end, Congress found that:
 5               [b]anning such automated or prerecorded telephone calls to
 6               the home, except when the receiving party consents to
                 receiving the call or when such calls are necessary in an
 7               emergency situation affecting the health and safety of the
 8               consumer, is the only effective means of protecting
                 telephone consumers from this nuisance and privacy
 9               invasion.
10
                 Id. at § 12; see also Martin v. Leading Edge Recovery
11               Solutions, LLC, 2012 WL 3292838, at *4 (N.D. Ill. Aug. 10,
12               2012) (citing Congressional findings on TCPA’s purpose).
13   3.    Congress also specifically found that “the evidence presented to Congress
14         indicates that automated or prerecorded calls are a nuisance and an
15         invasion of privacy, regardless of the time of call….” Id. at §§ 12-13. See
16         also, Mims v. Arrow Fin. Servs., LLC, 132 S. Ct. 740, 744 (2012).
17   4.    Plaintiff [NAME], by Plaintiff’s attorneys, brings this action to challenge
18         the conduct of Ocwen Mortgage Servicing, Inc. (“OMS”) and Ocwen
19         Loan Servicing, LLC (“OLS”) (collectively “Ocwen” or “Defendants”),
20         with regard to attempts by Defendants to unconscionably and abusively
21         collect a debt allegedly owed by Plaintiff. Further, Plaintiff brings this
22         action for damages and any other available legal or equitable remedies
23         resulting from the actions of Defendants in its negligent and/or willful
24         violations of the TCPA.
25   5.    The statute of limitations is tolled due to the commencement of a class
26         action based on the same or similar allegations in the matter of Keith
27         Snyder, on behalf of himself and all others similarly situated v. Ocwen
28         Loan Servicing, LLC, Case No. 1:14-cv-8461, filed against Defendants on
      _________________________________________________________________________________________________
                                                                              Hyde & Swigart
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 1         October 27, 2014 in the Northern District of Illinois. See America Pipe &
 2         Construction Co v. State of Utah, 414 U.S. 538.
 3   6.    Plaintiff makes these allegations on information and belief, with the
 4         exception of those allegations that pertain to Plaintiff, or to Plaintiff’s
 5         counsel, which Plaintiff alleges on personal knowledge.
 6   7.    While many violations are described below with specificity, this
 7         Complaint alleges violations of the statutes cited in their entirety.
 8   8.    Any violations by Defendants were knowing, willful, and intentional, and
 9         Defendants did not maintain procedures reasonably adapted to avoid any
10         such violation.
11                                   JURISDICTION AND VENUE
12   9.    Jurisdiction of this Court arises pursuant to 28 U.S.C. § 1331, 47 U.S.C. §
13         227(b), and 28 U.S.C. § 1367 for supplemental state law claims.
14   10.   This Court has federal question jurisdiction because this action arises out
15         of Defendants’ violations of federal law. 47 U.S.C. § 227(b); Mims v.
16         Arrow Fin. Servs. LLC, 132 S. Ct. 740 (2012).
17   11.   Because Defendants conduct business within the State of Washington,
18         personal jurisdiction is established.
19   12.   Venue is proper in the United States District Court for the Western District
20         of Washington pursuant to 28 U.S.C. § 1391(b) because Defendants
21         conduct business within this judicial district.
22                                              PARTIES
23   13.   Plaintiff is, and at all times mentioned herein was, a resident of the City of
24         Monroe, County of Snohomish, State of Washington.
25   14.   Plaintiff is, and at all times mentioned herein was, a “consumer” as defined
26         by 47 U.S.C. § 153 (39).
27   15.   Defendant OMS has its principal place of business in Frederiksted, St.
28         Croix in the U.S. Virgin Islands.
      _________________________________________________________________________________________________
                                                                              Hyde & Swigart
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 1   16.   Defendant Ocwen Loan Servicing, LLC has its principal place of business
 2         in the City of West Palm Beach, in the State of Florida.
 3   17.   Defendant OMS is, and at all times mentioned herein was, a corporation
 4         and a “person,” as defined by 47 U.S.C. § 153 (39).
 5   18.   Defendant OLS is, and at all times mentioned herein was, a limited
 6         liability company and a “person,” as defined by 47 U.S.C. § 153 (39).
 7
 8                                    FACTUAL ALLEGATIONS
 9   19.   Between April 2, 2011 through early 2016, Defendants called Plaintiff on
10         Plaintiff’s cellular telephone number ending in 1553 via an “automatic
11         telephone dialing system” (“ATDS”), as defined by 47 U.S.C. § 227(a)(1),
12         using an “artificial or prerecorded voice” as prohibited by 47 U.S.C. §
13         227(b)(1)(A).
14   20.   This ATDS has the capacity to store or produce telephone numbers to be
15         called, using a random or sequential number generator.
16   21.   When Plaintiff would answer the calls from Defendants, there would often
17         be a silence, sometimes with a click or a beep-tone, before an Ocwen
18         representative would pick up and start speaking.
19   22.   Sometimes, Plaintiff would receive calls from Defendants in which the
20         caller was a recorded voice or message, rather than a live representative.
21   23.   In total, Plaintiff has received at least 1,346 calls from Defendants on
22         Plaintiff’s cellular telephone.
23   24.   For example, Plaintiff received approximately 823 calls in 2013, averaging
24         2.3 calls every day. Plaintiff also received numerous calls after 9 pm.
25   25.   During the course of the calls, Plaintiff revoked any type of prior express
26         consent, if prior express consent ever existed, by stating that the calls were
27         not necessary and that he refused to make payments.
28    _________________________________________________________________________________________________
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 1   26.   Each of these calls was an attempt to collect on a consumer debt allegedly
 2         due and owing by Plaintiff.
 3   27.   The calls by Defendants to Plaintiff’s cell phone continued, even after
 4         Plaintiff’s oral revocation.
 5   28.   These calls were made by Defendants or Defendants’ agent, with
 6         Defendants’ permission, knowledge, control, and for Defendants’ benefit.
 7   29.   As a result, the telephone calls by Defendants, or its agent(s), violated 47
 8         U.S.C. § 227(b)(1).
 9   30.   Through Defendant’s actions, Plaintiff suffered an invasion of a legally
10         protected interest in privacy, which is specifically addressed and protected
11         by the TCPA.
12   31.   Plaintiff was personally affected, becoming frustrated and distressed that,
13         despite Plaintiff’s refusal to pay, Defendants continued to harass Plaintiff
14         with collection calls using an ATDS.
15   32.   The unrelenting, repetitive calls disrupted Plaintiff’s daily activities and
16         the peaceful enjoyment of Plaintiff’s personal and professional life,
17         including the ability to use Plaintiff’s phone. Plaintiff became depressed
18         and withdrawn as a result of the constant calls.
19   33.   The calls placed by Defendants to Plaintiff were extremely intrusive,
20         including Plaintiff’s relationships with close family members. Specifically,
21         Plaintiff began to ignore or send to voicemail many incoming calls from
22         unknown numbers, out of frustration in dealing with Defendants’
23         unwanted and intrusive calls. In doing so, Plaintiff missed important
24         communications from friends and family.
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28    _________________________________________________________________________________________________
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 1
 2                                       CAUSES OF ACTION
 3                                              COUNT I
 4                              NEGLIGENT VIOLATIONS OF THE
 5                   TELEPHONE CONSUMER PROTECTION ACT (TCPA)
 6                                          47 U.S.C. § 227
 7   34.   Plaintiff incorporates by reference all of the above paragraphs of this
 8         Complaint as though fully stated herein.
 9   35.   The foregoing acts and omissions of Defendants constitute numerous and
10         multiple negligent violations of the TCPA, including but not limited to
11         each and every one of the above-cited provisions of 47 U.S.C. § 227 et
12         seq.
13   36.   As a result of Defendants’ negligent violations of 47 U.S.C. § 227 et seq.,
14         Plaintiff is entitled to an award of $500.00 in statutory damages, for each
15         and every violation, pursuant to 47 U.S.C. § 227(b)(3)(B).
16   37.   Plaintiff is also entitled to and seeks injunctive relief prohibiting such
17         conduct in the future.
18                                              COUNT II
19                            KNOWING AND/OR WILLFUL OF THE
20                   TELEPHONE CONSUMER PROTECTION ACT (TCPA)
21                                          47 U.S.C. § 227
22   38.   Plaintiff incorporates by reference all of the above paragraphs of this
23         Complaint as though fully stated herein.
24   39.   Each call after Plaintiff requested Defendants stop calling Plaintiff’s cell
25         phones constitutes a knowing and/or willful violation of the TCPA.
26   40.   The foregoing acts and omissions of Defendants constitute numerous and
27         multiple knowing and/or willful violations of the TCPA, including but not
28    _________________________________________________________________________________________________
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 1         limited to each and every one of the above-cited provisions of 47 U.S.C. §
 2         227 et seq.
 3   41.   As a result of Defendants’ knowing and/or willful violations of 47 U.S.C.
 4         § 227 et seq., Plaintiff is entitled to an award of $1,500.00 in statutory
 5         damages, for each and every violation, pursuant to 47 U.S.C. § 227(b)(3)
 6         (B) and 47 U.S.C. § 227(b)(3)(C).
 7   42.   Plaintiff is also entitled to and seeks injunctive relief prohibiting such
 8         conduct in the future.
 9                                             COUNT III
10                                           NEGLIGENCE
11   43.   Plaintiff incorporates by reference all of the above paragraphs of this
12         Complaint as though fully stated herein.
13   44.   Defendants had a duty to use care to not infringe on Plaintiff’s privacy
14         rights when collecting on alleged debts and not calling Plaintiff hundreds
15         of times to harass and/or abuse Plaintiff.
16   45.   Defendants breached that duty by calling Plaintiff on Plaintiff’s cellular
17         telephone an excessive number of times, as discussed above.
18   46.   Plaintiff was harmed and suffered injury as described above.
19   47.   The negligence of Defendants was a substantial and proximate factor in
20         causing Plaintiff this harm and injury described above.
21   48.   As said conduct was carried out by Defendants in an oppressive,
22         malicious, despicable, gross and wantonly negligent manner, said conduct
23         demonstrates Defendants’ conscious disregard for the rights of Plaintiff. As
24         such Plaintiff is entitled to recover punitive damages from Defendants in
25         addition to her special, compensatory, and general damages.
26
27
28                                             COUNT IV
      _________________________________________________________________________________________________
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 1         NEGLIGENCE PER SE - TELEPHONE CONSUMER PROTECTION ACT
 2   49.   Plaintiff incorporates by reference all of the above paragraphs of this
 3         Complaint as though fully stated herein.
 4   50.   The Telephone Consumer Protection Act (“TCPA”), 47 U.S.C. §227 et seq.
 5         was designed to prevent calls like the ones described within this
 6         complaint, and to protect the privacy of citizens like Plaintiff.
 7   51.   Thus, Plaintiff is within the protective class which the TCPA is designed to
 8         protect.
 9   52.   As described above, Defendants breached their duty when they violated
10         the TCPA.
11   53.   Defendants’ violation of the TCPA was a substantial and proximate factor
12         in causing Plaintiff this harm and injury described above.
13   54.   As said conduct was carried out by Defendants in an oppressive,
14         malicious, despicable, gross and wantonly negligent manner, said conduct
15         demonstrates Defendants’ conscious disregard for the rights and safety of
16         Plaintiff or their family. As such Plaintiff is entitled to recover punitive
17         damages from Defendants in an amount according to proof at trial.
18
19                                      PRAYER FOR RELIEF
20   WHEREFORE, Plaintiff prays that judgment be entered against Defendants, and
21   Plaintiff be awarded damages from Defendants, as follows:
22         •      Statutory damages of $500.00 for each negligent violation of the
23                TCPA pursuant to 47 U.S.C. § 227(b)(3)(B);
24         •      Statutory damages of $1,500.00 for each knowing and/or willful
25                violation of the TCPA pursuant to 47 U.S.C. § 227(b)(3)(B) and 47
26                U.S.C. § 227(b)(3)(C).
27
28    _________________________________________________________________________________________________
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 1         •      A permanent injunction, restraining and enjoining Defendants from
 2                communicating with Plaintiff in a manner that violates 47 U.S.C. §
 3                227;
 4         •      Actual, special general, compensatory, and punitive damages;
 5         •      Reasonable attorneys’ fees and costs of suit; and
 6         •      Any and all other relief that the Court deems just and proper.
 7
 8                                          JURY DEMAND
 9   55.   Pursuant to the seventh amendment to the Constitution of the United States
10         of America, Plaintiff is entitled to, and demands, a trial by jury.
11
12
13   Dated: May 4, 2017
                                                         Respectfully submitted,
14
15                                                        By: /s/ Sarah T. McEahern
                                                          Sarah T. McEahern, Esq.
16                                                        Joshua B. Swigart, Esq.
17                                                        HYDE & SWIGART
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21
                                                          Attorneys for William Mix
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28    _________________________________________________________________________________________________
                                                                              Hyde & Swigart
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